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                                          UNITED STATES BANKRUPTCY COURT
                                                 DISTRICT OF NEVADA


       In re: D'HAENENS, BRANDON MICHAEL                    §     Case No. 16-16602-BTB
                                                            §
                                                            §
                                                            §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




              Shelley D. Krohn, chapter 7 trustee, submits this Final Account, Certification that the Estate has been
      Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $149,525.00                            Assets Exempt:      $554,525.00
      (without deducting any secured claims)

      Total Distributions to Claimants:   $13,356.97              Claims Discharged
                                                                  Without Payment:      $23,440,632.55


      Total Expenses of Administration:    $49,143.03




               3) Total gross receipts of $62,500.00 (see Exhibit 1), minus funds paid to the debtor and third parties
      of $0.00 (see Exhibit 2), yielded net receipts of $62,500.00 from the liquidation of the property of the estate,
      which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                  $1,142,958.00        $2,151,837.93                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00           $49,143.03           $49,143.03           $49,143.03


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                              $248,554.79          $429,549.28           $46,928.27           $13,356.97

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                           $84,510,890.06       $23,245,660.43       $23,239,282.55                 $0.00


   TOTAL DISBURSEMENTS                        $85,902,402.85       $25,876,190.67       $23,335,353.85           $62,500.00




                 4) This case was originally filed under chapter 7 on 12/13/2016. The case was pending for 39
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        03/13/2020                        By: /s/ Shelley D. Krohn
                                                                           Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                             $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                          RECEIVED

 Settlement with Debtor                                                                         1249-000                            $62,500.00

                             TOTAL GROSS RECEIPTS                                                                                   $62,500.00

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                  $ AMOUNT
                 PAYEE                                      DESCRIPTION
                                                                                                   TRAN. CODE                   PAID

                                                                          None




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EXHIBIT 3 - SECURED CLAIMS



                                    UNIFORM        CLAIMS
    Claim                                                          CLAIMS          CLAIMS         CLAIMS
               CLAIMANT              TRAN.       SCHEDULED
     NO.                                                          ASSERTED        ALLOWED          PAID
                                     CODE      (from Form 6D)


      2       Republic Services     4110-000          $4,400.00      $2,312.93          $0.00         $0.00

    4S-3      IRS                   4110-000        $138,558.00    $149,525.00          $0.00         $0.00

    8S-2      CHAYSE MYERS C/O      4120-000        $500,000.00    $500,000.00          $0.00         $0.00
              SNELL & WILMER
              L.L.P. ATTN
              CHARLES E
    9S-2      HALF DENTAL           4120-000        $500,000.00    $500,000.00          $0.00         $0.00
              FRANCHISE, LLC C/O
              SNELL & WILMER
              L.L.P. ATTN
              CHARLES E
    10S-2     HDM, LLC C/O SNELL    4120-000                NA     $500,000.00          $0.00         $0.00
              & WILMER L.L.P.
              ATTN: CHARLES E.
              GIANELLONI
    11S-2     MATT BAKER C/O        4120-000                NA     $500,000.00          $0.00         $0.00
              SNELL & WILMER
              L.L.P. ATTN:
              CHARLES E.

                TOTAL SECURED                     $1,142,958.00   $2,151,837.93         $0.00         $0.00




EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                    UNIFORM       CLAIMS           CLAIMS           CLAIMS        CLAIMS
   PAYEE                             TRAN.      SCHEDULED         ASSERTED         ALLOWED         PAID
                                     CODE

 Trustee, Fees - Shelley D. Krohn   2100-000                NA        $6,375.00      $6,375.00    $6,375.00

 Trustee, Expenses - Shelley D.     2200-000                NA          $270.06       $270.06      $270.06
 Krohn
 Banking and Technology Service     2600-000                NA          $428.08       $428.08      $428.08
 Fee - Rabobank, N.A.
 Attorney for Trustee Fees (Other   3210-000                NA       $41,850.00     $41,850.00   $41,850.00
 Firm) - Houmand Law Firm, Ltd.
 Attorney for Trustee Expenses      3220-000                NA          $219.89       $219.89      $219.89
 (Other Firm) - Houmand Law Firm,
 Ltd.
 TOTAL CHAPTER 7 ADMIN. FEES
                                                            NA       $49,143.03     $49,143.03   $49,143.03
        AND CHARGES




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EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                           UNIFORM            CLAIMS              CLAIMS              CLAIMS            CLAIMS
          PAYEE
                          TRAN. CODE        SCHEDULED            ASSERTED            ALLOWED             PAID

                                                         None




 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                       CLAIMS
                                     UNIFORM        CLAIMS
                                                                      ASSERTED             CLAIMS           CLAIMS
 CLAIM NO.         CLAIMANT           TRAN.      SCHEDULED
                                                                   (from Proofs of        ALLOWED            PAID
                                      CODE      (from Form 6E)
                                                                        Claim)

    4P-3     IRS                     5800-000        $204,801.94        $397,422.95        $14,801.94        $4,213.01


    16P      Arizona Department of   5800-000         $34,752.85         $16,252.85        $16,252.85        $4,625.97
             Revenue

    17P      Idaho State Tax         5800-000                NA          $15,873.48        $15,873.48        $4,517.99
             Commission
             Bankruptcy Unit

    N/F      Idaho State Tax         5800-000          $9,000.00                NA                NA               NA
             Commission

            TOTAL PRIORITY
           UNSECURED CLAIMS                          $248,554.79        $429,549.28        $46,928.27       $13,356.97




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                       CLAIMS
                                     UNIFORM        CLAIMS
                                                                      ASSERTED         CLAIMS         CLAIMS
 CLAIM NO.         CLAIMANT           TRAN.      SCHEDULED
                                                                   (from Proofs of    ALLOWED          PAID
                                      CODE      (from Form 6F)
                                                                        Claim)

     1       AIREEN WILLIAMSON       7100-000         $92,000.00         $19,454.40     $19,454.40       $0.00


     3       Quantum3 Group LLC      7100-000                NA           $6,377.88          $0.00       $0.00
             as agent for
             MidCountry Bank

    4-3U     IRS                     7100-000         $36,640.06         $41,443.23     $41,443.23       $0.00


     5       Capital One Bank        7100-000          $6,200.00          $3,100.27      $3,100.27       $0.00
             (USA), N.A.

     6       PYOD, LLC its           7100-000          $2,700.00          $1,350.26      $1,350.26       $0.00
             successors and
             assigns as assigneeof
             FNBM, LLC Resurgent
             Capital Services

     7       Cavalry SPV I, LLC      7100-000                NA          $22,112.78     $22,112.78       $0.00


    8U-2     CHAYSE MYERS C/O        7100-000    $60,000,000.00       $5,679,407.64   $5,679,407.64      $0.00
             SNELL & WILMER
             L.L.P. ATTN
             CHARLES E

    9U-2     HALF DENTAL             7100-000    $11,500,000.00       $5,679,407.64   $5,679,407.64      $0.00
             FRANCHISE, LLC C/O
             SNELL & WILMER
             L.L.P. ATTN
             CHARLES E

   10U-2     HDM, LLC C/O SNELL      7100-000      $6,000,000.00      $5,679,407.64   $5,679,407.64      $0.00
             & WILMER L.L.P.
             ATTN: CHARLES E.
             GIANELLONI

   11U-2     MATT BAKER C/O          7100-000      $6,000,000.00      $5,679,407.64   $5,679,407.64      $0.00
             SNELL & WILMER
             L.L.P. ATTN:
             CHARLES E.

    12-1     Adam Polan              7100-000                NA          $24,276.02     $24,276.02       $0.00


     13      KOLESAR &               7100-000         $30,000.00         $46,625.25     $46,625.25       $0.00
             LEATHAM

     14      George E. Doty          7100-000        $600,000.00        $300,000.00    $300,000.00       $0.00


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     15     Yellow Book Sales and   7100-000        $42,000.00      $56,602.38       $56,602.38    $0.00
            Distribution Company,
            Inc. John W. Muije &
            Associates

    16U     Arizona Department of   7200-000             $0.00        $3,058.40        $3,058.40   $0.00
            Revenue

    17U     Idaho State Tax         7200-000               NA         $3,629.00        $3,629.00   $0.00
            Commission
            Bankruptcy Unit

    N/F     CHARLES DAMUS           7100-000        $16,500.00              NA               NA      NA


    N/F     FIRST PROGRESS          7100-000          $700.00               NA               NA      NA


    N/F     FIRST PROGRESS          7100-000         $1,200.00              NA               NA      NA


    N/F     LAS VEGAS               7100-000        $99,950.00              NA               NA      NA
            AIRCRAFT SALES

    N/F     LAS VEGAS WATER         7100-000             $0.00              NA               NA      NA
            DISTRICT

    N/F     STEVE SIMMONS           7100-000        $83,000.00              NA               NA      NA


            TOTAL GENERAL
           UNSECURED CLAIMS                    $84,510,890.06    $23,245,660.43   $23,239,282.55   $0.00




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                                                              Form 1
                                                                                                                                                             Exhibit 8
                                          Individual Estate Property Record and Report                                                                       Page: 1

                                                           Asset Cases
Case No.:    16-16602-BTB                                                                        Trustee Name:      (480070) Shelley D. Krohn
Case Name:        D'HAENENS, BRANDON MICHAEL                                                     Date Filed (f) or Converted (c): 12/13/2016 (f)
                                                                                                 § 341(a) Meeting Date:       01/11/2017
For Period Ending:        03/13/2020                                                             Claims Bar Date:      05/25/2017

                                      1                                   2                     3                      4                    5                     6

                           Asset Description                           Petition/        Estimated Net Value     Property Formally     Sale/Funds             Asset Fully
                (Scheduled And Unscheduled (u) Property)             Unscheduled       (Value Determined By        Abandoned        Received by the       Administered (FA)/
                                                                        Values                Trustee,             OA=§554(a)           Estate             Gross Value of
                                                                                      Less Liens, Exemptions,       abandon.                              Remaining Assets
  Ref. #                                                                                 and Other Costs)

    1       609 LOS FELIZ ST., Las Vegas, NV                           145,000.00                        0.00                                    0.00                          FA
            89110-0000, Clark County Single-family
            home, Co- Owner Severn P. Bizzaro
            (Brother). Entire property value:
            $290,000.00

    2       Checking: BANK OF AMERICA                                         25.00                      0.00                                    0.00                          FA
            CHECKING ACCOUNT

    3       TELEV1S1ON, LAPTOP COMPUTER,                                  2,500.00                       0.00                                    0.00                          FA
            HOME STEREO, 1-PAD

    4       MISCELLANEOUS WARDROBE                                        2,000.00                       0.00                                    0.00                          FA

    5       Settlement with Debtor (u)                                         0.00                 62,500.00                              62,500.00                           FA
            Settlement with Debtor for release of any claims
            Trustee has authority to settle, including claims
            asserted in pending Fraudulent Transfer Action and any
            objection that could be raised to Debtor's homestead
            exemption. See Order #104 granting settlement.



    5       Assets Totals (Excluding unknown values)                  $149,525.00                $62,500.00                             $62,500.00                       $0.00



 Major Activities Affecting Case Closing:

                                  12/4/19: TFR submitted to UST. BD
                                    12/10/19: NFR & NOH filed. Hearing set for 1/23/20 @ 11:00 am. BD
                                    1-23-20 - TFR approved. sk
                                    2/10/20: Check to AZ dept of revenue returned as the super intelligent person who filed the POC
                                  abbreviated the state as AR instead of AZ. Googled, got correct address, and re-sent to West Monroe Street
                                  in AZ. BD


 Initial Projected Date Of Final Report (TFR): 12/13/2018                              Current Projected Date Of Final Report (TFR):            12/04/2019 (Actual)




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                                                              Form 2                                                                                Exhibit 9
                                                                                                                                                    Page: 1
                                              Cash Receipts And Disbursements Record
Case No.:              16-16602-BTB                                       Trustee Name:                    Shelley D. Krohn (480070)
Case Name:             D'HAENENS, BRANDON MICHAEL                         Bank Name:                       Mechanics Bank
Taxpayer ID #:         **-***7129                                         Account #:                       ******9700 Checking
For Period Ending: 03/13/2020                                             Blanket Bond (per case limit): $31,197,145.00
                                                                          Separate Bond (if applicable): N/A

    1          2                        3                                         4                             5                      6                      7

  Trans.    Check or      Paid To / Received From           Description of Transaction         Uniform       Deposit             Disbursement        Account Balance
   Date      Ref. #                                                                           Tran. Code       $                       $

 12/04/17     {5}      Nelson & Houmand, P.C.            Settlement funds from Debtor         1249-000          62,500.00                                         62,500.00
 12/29/17              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      74.91                 62,425.09
                                                         Fees
 01/24/18     101      Houmand Law Firm, Ltd.            Attorney fees paid per Order #115,   3210-000                                 41,850.00                  20,575.09
                                                         1/24/18
 01/24/18     102      Houmand Law Firm, Ltd.            Attorney expenses paid per Order     3220-000                                     219.89                 20,355.20
                                                         #115, 1/24/18
 01/31/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      98.76                 20,256.44
                                                         Fees
 02/28/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      43.32                 20,213.12
                                                         Fees
 03/30/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      29.07                 20,184.05
                                                         Fees
 04/30/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      28.06                 20,155.99
                                                         Fees
 05/31/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      31.89                 20,124.10
                                                         Fees
 06/29/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      27.97                 20,096.13
                                                         Fees
 07/31/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      30.83                 20,065.30
                                                         Fees
 08/31/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      29.82                 20,035.48
                                                         Fees
 09/28/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      15.36                 20,020.12
                                                         Fees
 10/31/18              Rabobank, N.A.                    Bank and Technology Services         2600-000                                      18.09                 20,002.03
                                                         Fees
 03/20/19              Transfer Debit to Metropolitan    Transition Debit to Metropolitan     9999-000                                 20,002.03                       0.00
                       Commercial Bank acct ******8270   Commercial Bank acct
                                                         3910018270

                                            COLUMN TOTALS                                                       62,500.00               62,500.00                     $0.00
                                                  Less: Bank Transfers/CDs                                             0.00             20,002.03
                                            Subtotal                                                            62,500.00               42,497.97
                                                  Less: Payments to Debtors                                                                  0.00

                                            NET Receipts / Disbursements                                       $62,500.00              $42,497.97




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                                 ! - transaction has not been cleared
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                                                             Form 2                                                                                 Exhibit 9
                                                                                                                                                    Page: 2
                                             Cash Receipts And Disbursements Record
Case No.:              16-16602-BTB                                     Trustee Name:                    Shelley D. Krohn (480070)
Case Name:             D'HAENENS, BRANDON MICHAEL                       Bank Name:                       Metropolitan Commercial Bank
Taxpayer ID #:         **-***7129                                       Account #:                       ******8270 Checking Account
For Period Ending: 03/13/2020                                           Blanket Bond (per case limit): $31,197,145.00
                                                                        Separate Bond (if applicable): N/A

    1          2                       3                                       4                              5                      6                        7

  Trans.    Check or         Paid To / Received From       Description of Transaction        Uniform       Deposit             Disbursement          Account Balance
   Date      Ref. #                                                                         Tran. Code       $                       $

 03/20/19              Transfer Credit from Rabobank,   Transition Credit from Rabobank,    9999-000          20,002.03                                           20,002.03
                       N.A. acct ******9700             N.A. acct 5020489700
 01/24/20    1000      Shelley D. Krohn                 16-16602 BRANDON DHAENENS           2100-000                                     6,375.00                 13,627.03
                                                        Distribution payment - Dividend
                                                        paid at 100.00% of $6,375.00;
                                                        Claim # FEE; Filed: $6,375.00
 01/24/20    1001      Shelley D. Krohn                 16-16602 BRANDON DHAENENS           2200-000                                      270.06                  13,356.97
                                                        Distribution payment - Dividend
                                                        paid at 100.00% of $270.06; Claim
                                                        # TE; Filed: $270.06
 01/24/20    1002      IRS                              16-16602 BRANDON DHAENENS           5800-000                                     4,213.01                  9,143.96
                                                        Distribution payment - Dividend
                                                        paid at 28.46% of $14,801.94;
                                                        Claim # 53274P-3; Filed:
                                                        $397,422.95
 01/24/20    1003      Arizona Department of Revenue    16-16602 BRANDON DHAENENS           5800-000                                     4,625.97                  4,517.99
                                                        Distribution payment - Dividend
                                                        paid at 28.46% of $16,252.85;
                                                        Claim # 523716P; Filed:
                                                        $16,252.85
 01/24/20    1004      Idaho State Tax Commission       16-16602 BRANDON DHAENENS           5800-000                                     4,517.99                      0.00
                       Bankruptcy Unit                  Distribution payment - Dividend
                                                        paid at 28.46% of $15,873.48;
                                                        Claim # 17P; Filed: $15,873.48

                                           COLUMN TOTALS                                                      20,002.03               20,002.03                       $0.00
                                                 Less: Bank Transfers/CDs                                     20,002.03                      0.00
                                           Subtotal                                                                  0.00             20,002.03
                                                 Less: Payments to Debtors                                                                   0.00

                                           NET Receipts / Disbursements                                           $0.00              $20,002.03




{ } Asset Reference(s)         UST Form 101-7-TDR ( 10 /1/2010)                                                             ! - transaction has not been cleared
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                                                     Form 2                                                                   Exhibit 9
                                                                                                                              Page: 3
                                     Cash Receipts And Disbursements Record
Case No.:         16-16602-BTB                               Trustee Name:                   Shelley D. Krohn (480070)
Case Name:        D'HAENENS, BRANDON MICHAEL                 Bank Name:                      Metropolitan Commercial Bank
Taxpayer ID #:    **-***7129                                 Account #:                      ******8270 Checking Account
For Period Ending: 03/13/2020                                Blanket Bond (per case limit): $31,197,145.00
                                                             Separate Bond (if applicable): N/A




                                                                                                NET                      ACCOUNT
                               TOTAL - ALL ACCOUNTS                       NET DEPOSITS     DISBURSEMENTS                 BALANCES
                               ******9700 Checking                              $62,500.00         $42,497.97                    $0.00

                               ******8270 Checking Account                           $0.00               $20,002.03               $0.00

                                                                                $62,500.00              $62,500.00                $0.00




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